             Case 3:20-cr-00249-RS        Document 479       Filed 01/17/25      Page 1 of 2




 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney
 2
   MARTHA BOERSCH (CABN 126569)
 3 Chief, Criminal Division

 4 CHRISTIAAN HIGHSMITH (CABN 296282)
   DAVID WARD (CABN 239504)
 5 Assistant United States Attorneys

 6 MATTHEW CHOU (CABN 325199)
   Special Assistant United States Attorney
 7
          450 Golden Gate Avenue, Box 36055
 8        San Francisco, California 94102-3495
          Telephone: (415) 436-7200
 9        christiaan.highsmith@usdoj.gov
          david.ward@usdoj.gov
10        matthew.chou2@usdoj.gov

11 Attorneys for United States of America

12                                   UNITED STATES DISTRICT COURT

13                                NORTHERN DISTRICT OF CALIFORNIA

14                                       SAN FRANCISCO DIVISION

15   UNITED STATES OF AMERICA,                      )   CASE NO. 3:20-CR-00249-RS
                                                    )
16           Plaintiff,                             )   UNITED STATES’ PROPOSED
                                                    )   VERDICT FORM
17      v.                                          )
                                                    )   Pretrial Conference:   Jan. 22, 2025 | 9:30 a.m.
18   ROWLAND MARCUS ANDRADE,                        )   Trial:                 Feb. 10, 2025 | 9:00 a.m.
                                                    )   Court:                 Courtroom 3 | 17th Floor
19           Defendant.                             )   Judge:                 Hon. Richard Seeborg
                                                    )
20

21           The United States hereby submits its Proposed Verdict Form.
22 DATED: January 17, 2025                                      Respectfully submitted,
23                                                              ISMAIL J. RAMSEY
                                                                United States Attorney
24

25                                                                            /s/
                                                                CHRISTIAAN H. HIGHSMITH
26                                                              DAVID J. WARD
                                                                Assistant United States Attorneys
27

28                                                              MATTHEW CHOU
                                                                Special Assistant United States Attorney
     VERDICT FORM
     3:20-CR-00249 RS
             Case 3:20-cr-00249-RS        Document 479        Filed 01/17/25     Page 2 of 2




 1

 2

 3
                                      UNITED STATES DISTRICT COURT
 4
                                   NORTHERN DISTRICT OF CALIFORNIA
 5
                                         SAN FRANCISCO DIVISION
 6

 7   UNITED STATES OF AMERICA,                       ) CASE NO. 3:20-CR-00249-RS
                                                     )
 8           Plaintiff,                              ) VERDICT FORM
                                                     )
 9      v.                                           )
                                                     )
10   ROWLAND MARCUS ANDRADE,                         )
                                                     )
11           Defendant.                              )
                                                     )
12

13           We, the members of the jury in the above-entitled action, unanimously find the defendant,
14 Rowland Marcus Andrade:

15

16                   1. ___________________________ (GUILTY / NOT GUILTY) of the offense of wire
17 fraud, in violation of 18 U.S.C. § 1343, as charged in Count One of the Indictment.

18                   2. ___________________________ (GUILTY / NOT GUILTY) of the offense of money
19 laundering, in violation of 18 U.S.C. § 1956(a)(1)(A)(i) or (a)(1)(B)(i), as charged in Count Two of the

20 Indictment.

21

22

23 DATED: _____________________

24
                                                                ________________________________
25                                                              FOREPERSON
26

27

28

     VERDICT FORM
     3:20-CR-00249 RS
